            Case 21-11213                Doc 9         Filed 09/01/21 Entered 09/02/21 00:27:41                                     Desc Imaged
                                                       Certificate of Notice Page 1 of 6
                                                              United States Bankruptcy Court
                                                                District of Massachusetts
In re:                                                                                                                 Case No. 21-11213-fjb
Jacqueline de Oliveira Sampaio                                                                                         Chapter 13
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0101-1                                                  User: admin                                                                 Page 1 of 3
Date Rcvd: Aug 30, 2021                                               Form ID: 309iauto                                                         Total Noticed: 32
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

##               Addresses marked '##' were identified by the USPS National Change of Address system as undeliverable. Notices will no longer be delivered by
                 the USPS to these addresses; therefore, they have been bypassed. The debtor's attorney or pro se debtor was advised that the specified notice was
                 undeliverable.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Sep 01, 2021:
Recip ID                 Recipient Name and Address
db                       Jacqueline de Oliveira Sampaio, 88 Bittersweet Rd, Falmouth, MA 02540
aty                    + Cynthia Ravosa, Massachusetts Bankruptcy Center, One South Avenue, Natick, MA 01760-4600
20627504               + BSI Financial, PO Box 517, Titusville, PA 16354-0517
20627503                 Brian R. Charville, Esq., 325 Donald Lynch Blvd Ste 205, Marlborough, MA 01752-4711
20627509                 Citizens Bank, N.A., Merchant Services, 8500 Governors Hill Dr, Cincinnati, OH 45249-1384
20627510               + City of Worcester Water/Sewer Dept., PO Box 15588, Worcester, MA 01615-0588
20627512                 FD 120 Turnpike, LLC, 325 Donald Lynch Blvd Ste 205, Marlborough, MA 01752-4711
20627513                 Ferris Construction, LLC, 325 Donald Lynch Blvd Ste 205, Marlborough, MA 01752-4711
20627520                 National Grid, PO Box 960, Northborough, MA 01532-0960
20627521                 Occupational Health and Saftey Adm., 1441 Main St Ste 550, Springfield, MA 01103-1436
20627525                 TLH Consulting, Inc., 505 Middlesex Tpke Unit 14, Billerica, MA 01821-3579
20627524                 Timothy O'Hara, 8 Wincester Dr, New Bedford, MA 02740
20627526                 Travelers, PO Box 5600, Hartford, CT 06102-5600
20627515                 iHeartMedia, Inc., 20880 Stone Oak Pkwy, San Antonio, TX 78258-7460

TOTAL: 14

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
tr                     + Email/Text: taxes@ch13boston.com
                                                                                        Aug 30 2021 21:26:00      Carolyn Bankowski-13-12, Chapter 13-12 Trustee
                                                                                                                  Boston, P. O. Box 8250, Boston, MA 02114-0950
smg                    + Email/Text: duabankruptcy@detma.org
                                                                                        Aug 30 2021 21:26:00      CHIEF COUNSEL, LEGAL DEPARTMENT,
                                                                                                                  DEPARTMENT OF UNEMPLOYMENT
                                                                                                                  ASSISTANCE, COMMONWEALTH OF
                                                                                                                  MASSACHUSETTS, 19 STANIFORD
                                                                                                                  STREET,1ST FLOOR, Boston, MA 02114-2502
smg                       EDI: MASSDOR
                                                                                        Aug 31 2021 01:33:00      MASS DEPT OF REVENUE, BANKRUPTCY
                                                                                                                  UNIT, P0 BOX 9564, Boston, MA 02114-9564
ust                    + Email/Text: ustpregion01.bo.ecf@usdoj.gov
                                                                                        Aug 30 2021 21:26:00      John Fitzgerald, Office of the US Trustee, J.W.
                                                                                                                  McCormack Post Office & Courthouse, 5 Post
                                                                                                                  Office Sq., 10th Fl, Suite 1000, Boston, MA
                                                                                                                  02109-3901
20627500               + EDI: AMEREXPR.COM
                                                                                        Aug 31 2021 01:33:00      American Express, PO Box 981537, El Paso, TX
                                                                                                                  79998-1537
20627501               + Email/Text: I.michel@avidiabank.com
                                                                                        Aug 30 2021 21:26:19      Avidia Bank, 42 Main St, Hudson, MA
                                                                                                                  01749-2183
20627502                  EDI: BANKAMER.COM
                                                                                        Aug 31 2021 01:33:00      Bank of America, PO Box 15026, Wilmington, DE
                                                                                                                  19850-5026
20627507                  Email/Text: Bankruptcy.RI@Citizensbank.com
                                                                                        Aug 30 2021 21:26:00      Citizens Bank, 1 Citizens Dr, Riverside, RI
                                                                                                                  02915-3026
20627508                  Email/Text: Bankruptcy.RI@Citizensbank.com
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                                                    Certificate of Notice Page 2 of 6
District/off: 0101-1                                               User: admin                                                             Page 2 of 3
Date Rcvd: Aug 30, 2021                                            Form ID: 309iauto                                                     Total Noticed: 32
                                                                                   Aug 30 2021 21:26:00     Citizens Bank, N.A., 1 Citizens Plz, Providence,
                                                                                                            RI 02903-1344
20627505                 EDI: CAPITALONE.COM
                                                                                   Aug 31 2021 01:33:00     Capital One Bank USA N.A., PO Box 30281, Salt
                                                                                                            Lake City, UT 84130-0281
20627511              + EDI: COMCASTCBLCENT
                                                                                   Aug 31 2021 01:33:00     Comcast, 1701 John F Kennedy Blvd,
                                                                                                            Philadelphia, PA 19103-2899
20627514                 EDI: AMINFOFP.COM
                                                                                   Aug 31 2021 01:33:00     First Premier Bank, 3820 N Louise Ave, Sioux
                                                                                                            Falls, SD 57107-0145
20627517                 Email/Text: ipfscollectionsreferrals@ipfs.com
                                                                                   Aug 30 2021 21:26:00     IPFS Corporation, 1055 Broadway Blvd, Kansas
                                                                                                            City, MO 64105-1575
20627518                 Email/Text: ipfscollectionsreferrals@ipfs.com
                                                                                   Aug 30 2021 21:26:00     IPFS Corporation, PO Box 15089, Worcester, MA
                                                                                                            01615-0089
20627516                 EDI: IRS.COM
                                                                                   Aug 31 2021 01:33:00     Internal Revenue Service, PO Box 7346,
                                                                                                            Philadelphia, PA 19101-7346
20627506                 EDI: JPMORGANCHASE
                                                                                   Aug 31 2021 01:33:00     Chase Bank, PO Box 15298, Wilmington, DE
                                                                                                            19850-5298
20627519              + EDI: MASSDOR
                                                                                   Aug 31 2021 01:33:00     MA Department of Revenue Bankruptcy Unit, PO
                                                                                                            Box 9564, Boston, MA 02114-9564
20627523                 EDI: RMSC.COM
                                                                                   Aug 31 2021 01:33:00     Synchrony Bank, Attn: Bankruptcy Dept., PO Box
                                                                                                            965016, Orlando, FL 32896-5016

TOTAL: 18


                                                     BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID         Bypass Reason Name and Address
20627522         ##            Plaza Home Mortgage, Inc., 500 Edgewater Dr Ste 566, Wakefield, MA 01880-6232

TOTAL: 0 Undeliverable, 0 Duplicate, 1 Out of date forwarding address


                                                   NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Sep 01, 2021                                         Signature:          /s/Joseph Speetjens




                                 CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on August 30, 2021 at the address(es) listed
below:
Name                             Email Address
Carolyn Bankowski-13-12
                                 13trustee@ch13boston.com

Cynthia Ravosa
                                 on behalf of Debtor Jacqueline de Oliveira Sampaio massachusettsbankruptcycenter@gmail.com
                                 G63887@notify.cincompass.com
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                                       Certificate of Notice Page 3 of 6
District/off: 0101-1                              User: admin                             Page 3 of 3
Date Rcvd: Aug 30, 2021                           Form ID: 309iauto                     Total Noticed: 32
John Fitzgerald
                          USTPRegion01.BO.ECF@USDOJ.GOV


TOTAL: 3
        Case 21-11213                  Doc 9        Filed 09/01/21 Entered 09/02/21 00:27:41                               Desc Imaged
                                                    Certificate of Notice Page 4 of 6
Information to identify the case:
Debtor 1                 Jacqueline de Oliveira Sampaio                                       Social Security number or ITIN   xxx−xx−9452

                         First Name   Middle Name   Last Name                                 EIN   _ _−_ _ _ _ _ _ _
Debtor 2                                                                                      Social Security number or ITIN _ _ _ _
(Spouse, if filing)      First Name   Middle Name   Last Name
                                                                                              EIN   _ _−_ _ _ _ _ _ _
United States Bankruptcy Court        District of Massachusetts
                                                                                              Date case filed for chapter 13 8/24/21
Case number:          21−11213



Official Form 309I
Notice of Chapter 13 Bankruptcy Case                                                                                                            10/20


For the debtors listed above, a case has been filed under chapter 13 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read all pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors, the debtors' property, and certain codebtors. For example, while the stay is in
effect, creditors cannot sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors.
Creditors cannot demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required
to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not
exist at all, although debtors can ask the court to extend or impose a stay.

Confirmation of a chapter 13 plan may result in a discharge. Creditors who assert that the debtors are not entitled to a discharge
under 11 U.S.C. § 1328(f) must file a motion objecting to discharge in the bankruptcy clerk's office within the deadline specified
in this notice. Creditors who want to have their debt excepted from discharge may be required to file a complaint in the
bankruptcy clerk's office by the same deadline. (See line 8 for more information.)

To protect your rights, you may wish to consult an attorney. All documents filed in the case may be inspected at the
bankruptcy clerk's office at the address listed below or through PACER (Public Access to Court Electronic Records at
pacer.uscourts.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.
Do not file this notice with any proof of claim or other document in the case. Do not include more than the last four
digits of a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that
you file with the court.

                                              About Debtor 1:                                            About Debtor 2:
1. Debtor's full name                         Jacqueline de Oliveira Sampaio

2. All other names used in the
   last 8 years
                                              fka Jacqueline de Oliviera

                                              88 Bittersweet Rd
3. Address                                    Falmouth, MA 02540
                                              Cynthia Ravosa                                            Contact phone 508−655−3013
4. Debtor's  attorney
   Name and address
                                              Massachusetts Bankruptcy Center
                                              One South Avenue                                          Email:
                                              Natick, MA 01760                                          massachusettsbankruptcycenter@gmail.com

5. Bankruptcy trustee                         Carolyn Bankowski−13−12                                    Contact phone 617−723−1313
     Name and address                         Chapter 13−12 Trustee Boston
                                              P. O. Box 8250
                                              Boston, MA 02114

6. Bankruptcy clerk's office                                                                             Hours open Monday−Friday 8:30am−5:00pm
     Documents in this case may be filed      U. S. Bankruptcy Court                                     Contact phone 617−748−5300
     at this address.                         J.W. McCormack Post Office & Court House                   Date: 8/30/21
     You may inspect all records filed in     5 Post Office Square, Suite 1150
     this case at this office or online at    Boston, MA 02109−3945
      pacer.uscourts.gov.
                                                                                                              For more information, see page 2

Official Form 309I                                     Notice of Chapter 13 Bankruptcy Case                                            page 1
       Case 21-11213             Doc 9         Filed 09/01/21 Entered 09/02/21 00:27:41                                         Desc Imaged
                                               Certificate of Notice Page 5 of 6
Debtor Jacqueline de Oliveira Sampaio                                                                                          Case number 21−11213 − fjb

7. Meeting of creditors
   Debtors must attend the meeting to September 21, 2021 at 10:00 AM                                 Location:
   be questioned under oath. In a joint                                                              The meeting will be held TELEPHONICALLY
   case, both spouses must attend.
   Creditors may attend, but are not      The meeting may be continued or adjourned to a later
   required to do so.                     date. If so, the date will be on the court docket.
The dial−in number and participant code for the telephonic section 341 meeting of creditors will be posted to the docket within 14 days prior to
                                        the meeting. You may also contact the trustee for dial−in information.
8. Deadlines                           Deadline to file a complaint to challenge                                Filing deadline: 11/22/21
   Papers and any required fee must    dischargeability of certain debts:
   be received by the bankruptcy
   clerk's office no later than the
   deadlines listed.                   You must file:
                                       • a motion if you assert that the debtors are
                                          not entitled to receive a discharge under
                                          U.S.C. § 1328(f), or
                                       • a complaint if you want to have a particular
                                          debt excepted from discharge under
                                          11 U.S.C. § 523(a)(2) or (4).
                                       Deadline for all creditors to file a proof of claim                      Filing deadline: 11/2/21
                                       (except governmental units):
                                       Deadline for governmental units to file a proof of                       Filing deadline: 2/22/22
                                       claim:


                                       Deadlines for filing proof of claim:
                                       A proof of claim is a signed statement describing a creditor's claim. A proof of claim form (Official Form 410)
                                       may be obtained at www.uscourts.gov or any bankruptcy clerk's office or printed from the Court's website at
                                       www.mab.uscourts.gov/mab/creditorinformation. You may also file your claim electronically through the court's
                                       website at www.mab.uscourts.gov.

                                                 • If you do not file a proof of claim by the deadline listed, you might not be paid any money on your
                                                   claim.
                                                 • To be paid, you must file a proof of claim even if your claim is listed in the schedules that the
                                                   debtor filed.

                                       Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof of
                                       claim submits the creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain.
                                       For example, a secured creditor who files a proof of claim may surrender important nonmonetary rights,
                                       including the right to a jury trial.


                                       Deadline for filing surrogate proofs of claim by the                      Filing deadline:    30 days after the
                                       debtor or trustee under Fed. R. Bankr. P. 3004:                                               applicable bar date or
                                                                                                                                     as extended by the
                                       In the event a creditor does not timely file a proof of claim, a                              Court
                                       surrogate claim is not timely filed, or a claim is not allowed by the
                                       Court, the creditor may not receive distribution under the Chapter
                                       13 plan.


                                       Deadline to object to exemptions:                                         Filing deadline:    30 days after the
                                                                                                                                     conclusion of the
                                        The law permits debtors to keep certain property as exempt. If you                           meeting of creditors
                                       believe that the law does not authorize an exemption claimed, you
                                       may file an objection.

9. Deadline to file §503(b)(9)          Requests under Bankruptcy Code §503(b)(9)(goods sold within              Filing deadline:    60 days from the first
   requests                             twenty(20) days of bankruptcy) must be filed in the bankruptcy                               date set for the
                                        clerk's office.                                                                              meeting of creditors

10. Filing of plan                      The debtor has filed a plan.

                                        Pursuant to Massachusetts Local Bankruptcy Rule 13−8(a), unless otherwise ordered by the Court, any
                                        objection to confirmation of a chapter 13 plan shall be filed on or before the later of (i) thirty (30) days
                                        after the date on which the first section 341 meeting is held or (ii) thirty (30) days after service of an
                                        amended or modified plan. If an objection to a plan is filed, the Court may schedule a hearing.
11. Creditors with a foreign            If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
    address                             extend the deadline in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                        any questions about your rights in this case.
12. Filing a chapter 13                 Chapter 13 allows an individual with regular income and debts below a specified amount to adjust debts
    bankruptcy case                     according to a plan. A plan is not effective unless the court confirms it. You may object to confirmation of the
                                        plan and appear at the confirmation hearing. A copy of the plan, [is included with this notice] or [will be sent to
                                        you later], and [the confirmation hearing will be held on the date shown in line 10 of this notice] or [the court will
                                        send you a notice of the confirmation hearing]. The debtor will remain in possession of the property and may
                                        continue to operate the business, if any, unless the court orders otherwise.
                                                                                                                 For more information, see page 3

Official Form 309I                                Notice of Chapter 13 Bankruptcy Case                                                     page 2
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Debtor Jacqueline de Oliveira Sampaio                                                                                          Case number 21−11213 − fjb

13. Exempt property                     The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                        distributed to creditors, even if the case is converted to chapter 7. Debtors must file a list of property claimed as
                                        exempt. You may inspect that list at the bankruptcy clerk's office or online at pacer.uscourts.gov. If you believe
                                        that the law does not authorize an exemption that debtors claimed, you may file an objection by the deadline.
14. Discharge of debts                  Confirmation of a chapter 13 plan may result in a discharge of debts, which may include all or part of a debt.
                                        However, unless the court orders otherwise, the debts will not be discharged until all payments under the plan
                                        are made. A discharge means that creditors may never try to collect the debt from the debtors personally except
                                        as provided in the plan. If you want to have a particular debt excepted from discharge under 11 U.S.C. §
                                        523(a)(2) or (4), you must file a complaint and pay the filing fee in the bankruptcy clerk's office by the deadline.
                                        If you believe that the debtors are not entitled to a discharge of any of their debts under 11 U.S.C. § 1328(f), you
                                        must file a motion by the deadline.
15. Financial Management                Deadline for debtor to attend a financial managment training program approved by the United States
    Training Program Deadline           Trustee: No later than the date when the last payment was made by the debtor as required by the plan
                                        or the filing of a motion for a discharge under §1141(d)(5)(B) or §1328(b) of the Code. The discharge will
    for the Debtor                      not enter if the debtor fails to attend a financial management−training program approved by the United States
                                        Trustee or if the debtor attends such training and fails to file a certificate of completion with the U.S. Bankruptcy
                                        Court. The training is in addition to the pre−bankruptcy counseling requirement. A list of approved courses may
                                        be obtained from the United States Trustee or from the court's website at www.mab.uscourts.gov.
16. Abandonment of Estate               Notice is hereby given that any creditor or other interested party who wishes to receive notice of the estate
    Property                            representative's intention to abandon property of the estate pursuant to 11 U.S.C. §554(a) must file with the
                                        Court and serve upon the estate representative and the United States trustee a written request for such notice
                                        within fourteen (14) days from the date first scheduled for the meeting of creditors.




Official Form 309I                                Notice of Chapter 13 Bankruptcy Case                                                    page 3
